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 5   Attorney for Defendant, EMILIO PEREZ-SOLIS
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 7

 8                      IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                          CASE NO: 1:14-CR-00042-LJO/SKO
11                  Plaintiff,

12   v.                                                 STIPULATION AND ORDER FOR A
                                                        RESETTING OF THE CHANGE OF PLEA
13                                                      HEARING

14   EMILIO PEREZ-SOLIS,                                Date:      Monday, December 15, 2014
                                                        Time:      8:30 a.m.
15                  Defendant.                          Courtroom: Honorable Lawrence J. O’Neill
16

17

18          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America,

19   and the defendant EMILIO PEREZ-SOLIS by and through his attorney that the date set for the

20   Change of Plea hearing on Monday, December 15, 2014 at 8:30 a.m. be continued to Monday,

21   January 12, 2015 at 8:30 a.m. The justification for this request is that on December 9, 2014, the

22   defendant, through his family, has communicated to counsel that he is wavering on his earlier

23   decision to proceed with the change of plea currently set for January 12, 2015. Because the

24   defendant is incarcerated at the Lerdo detention center in Kern County, counsel does not have

25   immediate access to the defendant. The next available time for consulting with the defendant is

26   December 17, 2014. Counsel has already made arrangements with the U.S. Marshals Office to

27   transport the defendant to Fresno on that date. Because of the difficulty communicating with a

28   federal prisoner housed at the Lerdo facility, counsel is not fully informed as to the nature of the

     PEOPLE v. EMILIO PEREZ-SOLIS
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 1   defendant’s concerns that he wishes to have clarified by counsel. It does not appear feasible to

 2   consult with the defendant and resolve his concerns prior to the currently set time for his change

 3   of plea. Therefore, counsel is requesting that the change of plea hearing be continued until

 4   January 12, 2015.

 5          The parties also agree that any delay resulting from this continuance shall be excluded in

 6   the interest of justice pursuant to 18 U.S.C. Sections 3161(h)(1)(F), 3161(h)(7)(A),

 7   3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).

 8                                                        Respectfully submitted,
 9

10   DATED: December 11, 2014                              /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
11                                                        Attorney for Defendant,
                                                          EMILIO PEREZ-SOLIS
12

13

14   DATED: December 11, 2014                              /s/ Henry Carbajal, III
                                                          HENRY CARBAJAL, III
15                                                        Assistant United States Attorney

16                                                        Agreed to via email on 12/10/14

17
                                                  ORDER
18
            IT IS SO FOUND AND ORDERED. For the purpose of computing time under the
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     Speedy Trial Act, 18 U.S.C. §3161, et seq., within which trial must commence, the time period
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     of the date of this stipulation to January 12, 2015, inclusive, is deemed excludable pursuant to 18
21
     U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B(i) and (iv) because it results from a continuance
22
     granted by the Court at defendant’s request on the basis of the Court’s finding that the ends of
23
     justice served by taking such action outweigh the best interest of the public and the defendant in
24
     a speedy trial.
25   IT IS SO ORDERED.

26      Dated:     December 11, 2014                         /s/ Lawrence J. O’Neill
27                                                     UNITED STATES DISTRICT JUDGE

28

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